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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION




 EL-AMIN BASHIR,

                        Plaintiff,

                                          Case No. 3:05-cv-1165-J-12HTS


 UNITED STATES [OF] AMERICA,


                        Defendant.


                  ORDER OF DISMISSAL WITHOUT PREJUDICE

       Plaintiff El-Amin Bashir, an inmate of the federal penal

 system proceeding pro se and in forma pauperis, initiated this

 action by filing a Complaint under the Federal Tort Claims Act

  (hereinafter FTCA) pursuant to 28 U.S.C.         §   1346(b).   Plaintiff

 claims that the United States Marshal's Office in Jacksonville,

 Florida, negligently lost his personal clothing, which he values at

 $2,150.00.
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     A federal court may not exercise jurisdiction over an FTCA

claim unless the plaintiff first files an administrative claim with

the appropriate agency.     28 U. S.C. § § 2401 (b), 2675 (a); see Suarez

v. United States, 22 F.3d 1064, 1065          (11th Cir. 1994).       The

Eleventh Circuit has stated:

                  A plaintiff bringing a claim against the
             United States under the FTCA must first
             present the claim to the appropriate federal
             agency and wait for the agency to finally deny
             it. An agency's failure to dispose of a claim
             within six months is deemed to be a final
             denial. See 28 U.S.C. § 2675 (a). A district
             court only has jurisdiction over an FTCA
             action if the plaintiff has met section
             2675 (a)'s requirements. See Bush v. United
             States, 703 F.2d 491, 494 (11th Cir. 1983).

                  To satisfy section 2675(a), a claimant
             must do two things:         "(1) give[] the
             [appropriate] agency written notice of his or
             her claim sufficient to enable the agency to
             investigate and (2) place[] a value on his or
             her claim." Adams v. United States, 615 F.2d
             284, 289 (5th C     ) , decision clarified on
             denial of reh'g, 622 F.2d 197 (5th Cir. 1980).

Burchfield v. United States, 168 F.3d 1252, 1254-55 (11th Cir.

1999) (footnote omitted).

     The purpose of exhaustion of administrative remedies under 28

U.S.C.   §   2675 (a) is   "to improve and expedite      disposition of

monetary claims against the Government by establishing a system for

prelitigation settlement, to enable consideration of claims by the

agency having the best information concerning the incident, and to

ease court congestion and avoid unnecessary litigation." Meeker v.
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United States, 435 F.2d 1219, 1222                  (8th Cir. 1970)         (citation

omitted).

     Plaintiff, here, has not shown that he has exhausted his

administrative remedy.              Plaintiff merely alleges that his trial

counsel and his wife called the United States Marshal's Office

numerous      times        to   inquire   about   the   status   of   his   personal

property.         After exhaustion, he may refile a Complaint for this

Court's consideration. In refiling, he should submit documentation

reflecting proper exhaustion.

     Thus, for this reason, this Court is of the opinion that this

case should be dismissed without prejudice.

     It is now

     ORDERED AND ADJUDGED:

     1.       This case is hereby DISMISSED WITHOUT PREJUDICE to the

right to refile after proper exhaustion.

     2.       The Clerk of the Court shall enter judgment accordingly.

     3.       The Clerk of the Court shall close this case.

     DONE AND ORDERED at Jacksonville, Florida, this k k u                    day of

  S\I ~   J   ~    B   E    R   , 2005.



                                            UNITED STATES DISTRICT JUDGE




c:
El-Amin Bashir
